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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11

In re: Case No. 08-13141 (KJC)

TRIBUNE COMPANY, et al., Jointly Administered

Debtors. Hearing Date: December 13, 2011 at 1:00 p.m. ET

Objection Deadline: December 6, 2011 at 4:00 p.m. ET

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NOTICE OF MOTION

PLEASE TAKE NOTICE that on November 14, 2011, Aurelius Capital Management, LP, on
behalf of itself and its managed entities, filed the Motion of Aurelius Capital Management, LP for
Reconsideration of the Court's October 31, 2011 Decision as it Pertains to the Application of
PHONES Notes Subordination (the “Motion”) with the United States Bankruptcy Court for the District
of Delaware, 824 North Market Street, Wilmington, Delaware 19801 (the “Bankruptcy Court”).

PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court has scheduled a hearing on
the Motion for December 13, 2011 at 1:00 p.m. (E.T.) before The Honorable Kevin J, Carey, United
States Bankruptcy Judge, in the United States Bankruptcy Court for the District of Delaware, 824 N.
Market Street, 5" Floor, Courtroom #5, Wilmington, Delaware 19801.

PLEASE TAKE FURTHER NOTICE that, responses, if any, to the Motion must be in
writing, in conformity with the Federal Rules of Bankruptcy Procedure and the Local Rules of the
United States Bankruptcy Court for the District of Delaware, filed with the Bankruptcy Court, and
served upon, so as to be received by, the undersigned counsel on or before December 6, 2011 at 4:00
p.m. (ET). Only properly and timely filed responses will be considered.

IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER
NOTICE OR HEARING.
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Dated: November 14, 2011

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